The facts in this case involve the same points of law as contained in George C. Lebeck, Doing Business as Los Angeles-Albuquerque Express, Appellant, v. State of Arizona et al., Appellees, 62 Ariz. 171, 156 P.2d 720, and the decision in the latter case will control.
The case is accordingly remanded to the Maricopa County Superior Court with directions that the order dismissing the complaint be set aside and the complaint be reinstated for further proceedings thereon in accordance with law and the opinion expressed in the above-cited case.
NOTE: Judge ARTHUR T. LaPRADE being disqualified, the Honorable Wm. G. HALL, Judge of the Superior Court of Pima County, was called to sit in his stead. *Page 222 